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LIEBER HAMl\/IER HUBER & PAUL, P.C.

ATTORNEYS AT LAW
June 22, 2018

VIA CERTIFIED MAIL
Edinboro Univ. of Pa.
219 Meadville Street
Edinboro, PA 16444
Charlotte Wellman, Ph.D. Michael Hannan, Ph.D. Mark Deka, Ph.D.
Department of Art lnterim President Department of Alt
Edinboro Univ. of Pa. Edinboro Univ. of Pa. Edinboro Univ. of Pa.
116 Doucette Hall 219 Meadville Stl'eet 120 Doucette Hall
219 Meadville Street Edinboro, PA 16444 219 Meadville Street
Edinboro, PA 16444 Edinboro, PA 16444

James Parlin, M.F.A.
Depaitrnent of Art
Edinboro Univ. of Pa.
268 Dearborn Hall
219 Meadville Street
Edinhoro, PA 16444

Re: Eric Schruers v. Edinboro Univ. of Pa., 11599-18 (C.P. Erie)

To Whom it May Concern:

As you may be aware, this office represents Eric Schruers, the plaintiff in the above referenced
action. Enclosed in the above~captioned matter please find a Writ of Summons and an Acceptance of
Service form pursuant to PA. R. CIV. PROC. 402(b). 1 respectfully request that you or your attorney
accept service of original process by executing the enclosed Acceptance of Service form and returning it
in the self-addressed stamped envelope.

Thank you for your cooperation in this matter. h° you have any questions or concerns, please do
not hesitate to contact me.

x Sincerely,
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iii 1 \.
cc: Eric Schruers, Ph.D. `§` `“'~
Thomas M. Huber, Esq. \ \\
J ames B. Lieber, Esq. §
Enc.

5528 Wa|nut Street - Pittsburgh, PA 15232
412.687.2231 f. 412.687.3140

 

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IN THE COURT OF COMMON PLEAS ()F ERIE COUNTY, PENNSYLVANIA
ERIC SCHRUERS, PH.D., Civ. No. 11599~18
Plaintiff,
v.
PENNSYLVANIA, CHARLOTTE
WELLMAN, MICHAEL HANNAN,

MARK DEKA, and JAMES
PARLIN,

)

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EDINBORO UNIVERSITY OF )
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Defendants. )

ACCEPTANCE OF SERVICE

I accept service of the Complaint on behalf of Edinboro University of Pennsylvania and

certify that 1 am authorized to do so.

 

(Date) Authorized Agent
Edinboro Univ. of Pa.

 

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ll\‘ THE COURT OF COl\'Il\’ION PLEAS OF ERIE COUNTY, PENNSYLVANIA

ERIC SCHRUERS, PH.D., ClVlL DlVlSlON

l’laintlff, Dockel l\lo.. l i SQO( *' /&

V. 'l`YPE OF DOCKET:
C",
EDINBORO UNlVERSlTY OF - COMPLA|NT IN ClVIL ACTIQ § 9,
PENNSYLVANIA, CHARLOTTE ' 'r" ' §§
\\/ELhMAN, MICHAEL HANNAN, Filccl on Behalfof: 522
l\/lARK DEKA, and JAl\/l ES
PARLIN, Eric Schrucrs, Ph.D.
Plaintiff.
Defenclants.

 

Counscl of Record for this Party:

James B. Liebcr
Pa. l.D. No. 21748

Thomas 1\/1. Huber
Pa. I.D. No. 83053

Jacob l\/l. Simon
Pa. l~D. No. 202610

LIEBER l'lAl\/ll\/IER HUBER & PAUL, P.C.
5528 Walnut Street

Pittsbul'gh, PA 15232~23l2

(412) 687-2231 (telephone)

(412) 687-3140 (fax)

JURY 'l`RlAL DEMANDED

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IN THE COURT OF COMMON PLEAS ()F ERlE COUNTY, PENNSYLVANIA
ERlC SCHRUERS, PH.D., _ CIVIL Dl\/lSlON
Plaintiff, Doel<ct No.

V.

EDlNBORO UNIVERS|TY OF
PENNSYLVANlA, CHARLOTTE
WELLMAN, l\/ilCl-lAEL l~lANNAN,
MARK DEKA, and JAl\/lES
PARLIN,

 

Defcndants,
NOT[CE

You have been sued in court lf you wish to defend against the claims set forth in the
following pages, you must tal<e action within twenty (20} days after this Contplaint and notice are
served, by entering a written appearance personally or by attorney and filing in writing with the court
your defenses or objections to the claims set forth against you. You arc wanted that it`you fail to do
so the case may proceed without you and ajutlgment may be entered against you by the court without
further notice for any money claimed in the complaint or for any other claim or reliefrequested by
the plaintiff You may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THlS
OFFICE CA'N PROVIDE YOU WITH lNFORl\/l/\TION ABOUT HlRlNG A LAWYER.

lF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFiCE MAY BE ABLE TO
PRO\/lDE YOU WlTl-l INFORMATION ABOUT AGENC[ES THAT MAY OFFER LEGAL
SERVICES TO ELlGlBLE PERSONS AT A REDUCED FEE OR NO FEE.

Lawyer Referral & information Service
P.O. Box 1792

Erie, PA 16507

814/459-4411

l\/lon - Fri

8:30 a.m. - Noon; 1115 p.m. - 3100 p.in.

 

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IN THE COURT OF COi\'li\'ION PLEAS OF ERIE COUl\‘TY, PENNSYLVANIA

ERlC SCHRUERS, Pl~l.D.,
Plaintil"f,
v.

atwater/s

EDINBORO UNl\_/ERSITY OF
PENNSYLVANIA, CHARLOTTE

\/\_/\/\/\/\_/\/\_/\/\./\./V\./

 

N. C_l

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PARLrN, 4 *_ zan
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Defendants. 7`?»: _:.`») ::,
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PlaintiffEric Schruers, Ph.D., by and through undersigned counsel, files this Complaint for
remedies and damages under Title Vll of the Civil Rights Act (“Title Vll”) and the Pennsylvania
Human Relations Act (“PHRA”), and for remedies under the Age Discrimination in Employment
Act (“ADEA").

I. PARTIES
Plaintiff Dr. Schruers is a resident ofEdinboro, Erie County, Pennsylvania.
')

~. Defendant Edinboro University ofPennsylvania (“Edinboro”) is a Pennsylvania State

System of Higher Education university located in Erie County, Pennsylvania and employs in excess

of 500 employees

3. Defendant Charlotte Wellman, Ph.D. is an Associate Professor in Edinboro’s Art
Departmcnt.

4. Dr. Wellman is being sued in her individual and official capacities

5.

Defendant ~Dr. l\/1ichael l-iannan is the interim President of Edinboro.

 

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6. Dr. Hannan is being sued in his official capacity as the interim President ofEdinboro

including as the official with authority to hire and/or reinstate Dr. Schruers.

7. Defendant Marl< Deka, Ph.D. is an Associate Professor in Edinboro’s Art
Department.

8. Dr. Dei<a is being sued in his individual and official capacities

9. Defendant James Parlin, MFA is a Prof`essoi‘ in Edinboro’s Art Department. d

10. 1\/1r. Parlin is being sued in his individual and official capacities

Il. JURISDICTION

l 1. Jurisdietion of this Coun over the matters in this Complaint is founded upon 28

U.S.C. § 1331 and on 28 U.S.C, § 1367(a).
lll. VENUE

12. The events related in this Compiaint occurred in Erie County, Pennsylvania, in the

Wcstcrn District ot` Pennsylvania; therefore, venue is proper in this Court.
IV. A_Di\'llNlSTRATl\/E EXHAUSTION

13, On September' 25, 2013, Dr. Schruers dual filed a charge ofdiscrirnination with
the Equal Employment OpportunityCommission (“EEOC”) (533-2014-0004) and the Pennsylvania
Human Re_lations Commission (“PHRC”) asserting sex and age discrimination

14. On April 22, 2015, Dr. Schrucrs dual filed another charge of discrimination with
the EEOC and the PHRC asserting retaliation and sex and age discrimination

1 5. On or about Mareh 26, 2018, Dr. Schruers received right-to-sue letters from the

EEOC.

 

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16. This Complaint is being filed Within ninety (90) days of`receipt of the right-to-sue
letters
17. The Pennsylvania Human Relations Commission has not issued a notice of

dismissal and more than one year has passed since Plaintiffdual-filed the charges ot`discrimination.

V. FACTS
18. Dr. Schruers is male, was born in 1966, and currently is 52 years ofage.
19. Dr. Schruers is an art historian and college professor.

20. Dr. Schruers holds a Baehelor ofArts in Art History from Edinboro University, a
t\/iaster ofAits in Art History from The Pennsylvania State Uni\'ersity (“Penn State”), anda Ph.D,
in Art History from Penn State.

21. ln 1996, Dr. Schruers accepted a tenure track position at i\/lesa State College in
Grand Junction, Colorado (now Colorado l\/lesa University), where he ultimatelyreceived tenure and
was promoted to Associate Professor in 2002.

22. During the seven years at l\/lesa State, Dr. Schruers taught a course load that
predominantly was European Art History along with Non~Western Ai't History coursesl

23. ln 2003, desiring to return east, Dr. Schruer's left i\/lesa State and accepted a
position at Slippeiy Roel< University; however, two years later (2005), this position was eliminated
due to budget cuts.

24. At Slippery Rocl<, Dr. Sehruers’ course load was focused primarily on European Art,
with a Non-Westcm survey and a single Amcriean Ait course

25. ln 2009, Dr. Schruers was hired as an instructor into Edinboro’s Art Department and

later promoted in 2010 to assistant professor.

 

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26. Dr. Schruers initially hired as a replacement for Dr. Charlotte Wellman to cover basic
Overview classes and upper level courses in 20th century Art (which were primarily focused on
Europcan Art).

27, ln the spring of`2010, Professor Lynne Reno, who covered the 17th to 19th century
cour'ses, announced her retirement

28. Dr. Schruers was then selected to fill her position for 2010»201 1.

29. No search was conducted as he had extensive experience studying and teaching this
material

30. Dr. Schr'uers was recommended for renewal for 201 1-2012, and 2012~2013, having
received positive peer and chair reviews

31. During this time, Dr. Schruers taught an extensive course load of`classes on 1'/"h
through 19th century topics, as well as History of r\/lodern Arcliitecture and various Non-Westcm

COLll`S€S,

t_,.)
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in Fall 2012, Edinboro posted a tenure track position in Art History,

33. The position required a Ph.D. in Art Histor'y with a secondary area in architecture
considered “a plus.”

34. The teaching responsibilities included large sections of general education survey

courses with a primary focus area of 17th to 19th century art as well as undergraduate art history

SCl`tlll`l€il' COUI`S€S.

35, Dr. Schruers applied for the position in December 2012.
36. Dr. Scliruers was well-qualified for this position based on his education and
experience

 

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37. Dr. Schruers had the required Ph.D. in Art rlistory as well as a secondary area in
architectural history, including during this period he taught a t\/lodern Architectui'e course at
Edinboro and architecture was an area ofliis doctoral comprehensive exams

38. Dr. Schruers also had extensive experience teaching large general education
survey courses in 17“‘ to 19lh century art and undergraduate art history seminar courses at Edinboro
as well as his previous universities

39. Dr. Schruers was told that this tenure-trach position was a conversion of his theri-
currerit full-time temporary position; thus7 he was the incumbent as he had been performing the
teaching duties of the position for four years as well as nine years of teaching a four course per
semester full-time schedule for two years at Slippeiy Rocl< and seven years at l\/lesa State.

40. Despite Dr. Schruers1 excellent qualifications and good fit for the tenure-track
position, on April 18; 2013 Assoeiate Professor Dr. l\/larl< Deka informed Dr. Schruers that lie was
not a finalist for the position.

41 . ’l`he Searcli Committee ultimately recommended a younger female and less
qualified candidate named i\lanette Thrush.

42. l\/ls. Thrusli was also one ofthe finalists for the later second search

43. The search had been in'egular, was inflicted with sexist and ageist bias, and Dr.
Schrucrs was not given a fair and equal opportunity to promote his candidacy for the position.

44. By way of example, Dr. Wellman was an influential member ofthe Scarch
Coinmittee and has a reputation for displaying bias against males, as noted by tier colleagues and
students

45. 'l`wo separate faculty members told Dr. Schruers that Dr. Wellman is biased against

 

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males

46. ln the spring o‘l"QOl 0, when Lynne Reno announced her retirement and Dr. Schruer's
was selected to replace her, Professor Reno said to him words to the effect of“Be careful around
Sheny, she does not like men,” also noting that Dr. Wellman did see chair lim Parlin as an ally and
the she was friends with him and his wife.

47. Prof. Reno warned him that because ofthis relationship he should be wary of
complaining about Dr. Wellman to h/lr. Parlin.

48. 'l`his would later prove accurate when l\/ir. Parlin became agitated and annoyed when
Dr. Schruers tried to discuss Dr. Wellman’s untruthful peer evaluation ofhim in spring 2013.

49. Also, in Fall 20 l O, Dr, Wel|man sent Dr. Schruers a threatening “protocol" email that
he would not be around for long ifhe continued to present himselfto the Administration as capable
ol`teaching a wide variety of subjects thereby making her and Dr. Deka look l)ad.

5(). After the seareh, Dr. Schruers was told by a then-member ofthe Art Depzu‘tment that
Dr. Wcllman ‘“disliked men.”

5 l. Shoi“tly before the posting, Dr. Wellman stopped by Dr. Schruers’ cubicle and
discouraged him from applying for the tenured positionl

52. She inappropriately placed her hand on Dr. Schruers’ knee and said: (a) there had
been a meeting with Department Chair lame-s Parlin and the Administration in which concerns were
raised about the number of faculty working in the Art Department with degrees from Edinboro; (b)
the Department was instructed to avoid considering anyone with a degree from Edinhoro as a
candidate for the upcoming searches, including the tenure track Art Historian position, and; (c) Dr.

Schruers should start applying for positions at other universities

 

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53. Dr. Schrucrs immediately clarified this issue with Chair Parlin who told him that
there was a conceni only with hiring /'ece)i/ Edinboro graduates who had just received their terminal
degrees, which obviously did not apply to Dr. Schruers who had graduated from Edinboro in 1988
with a BA in Art History (Chair Parlin indicated to Dr. Sehruers that he had not known that Dr.
Schruers graduated from Edinboro) more than twenty five years bet`ore, had received his masters and
doctorate from Penn State (and not Edinboro), and had extensive teaching experience outside of
Edinboro at other universities (Penn State, Colorado l\/lesa University, and Slippery Rock)v

54. Dr. Wellman also has said to Dr. Schruers that it looked good for the program to
haven minority female on staff, referring to Dr. Schruers’ colleaguc, Swati Bandi, who at the time
was filling the l-listoiy ofl?ilni and Video position.

55. Prior to the posting for the tenure track position, Dr. Wellman had given Dr.
Schruers a very positive peer evaluation in Spring 20l2, with comments including “l'iis Powerpoint
presentation was simply beautiful,” “Eric is easily the most technologically sophisticated member
of our area,” “he created a rich, extempor'aneous narrative t"or i\/lucha’s ait,” “Schruers area of
specialization is late 19"` century and early 20"’ century Eurt)pean art, paiticularly arehitecture,” “He
has shown remarkable versatility and a willingness to develop courses on a range oftopics, from l 8"`
century through early 20"‘ century art as well as non-western surveys,” and “l~le is an intensely warm
engaging mentor to his students and a generous colleague.“

56. After Dr. Schruers applied for the tenure-track position, however, Dr. Wellnian
reversed her opinion ofhis teaching and issued him a negative peer observation

57. There was no material change in Dr. Schruers’ teaching that wouldjustify Dr.

Wellman’s complete reversal ofher earlier positive opinion.

 

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58. Dr. Wellman unfairly faulted Dr. Schruers t`or not covering certain material when
he in t`aet did cover that material after she prematurely had let`t thc class

59. Ther'c is no requirement regarding the length ot`an observation, but certainly an
evaluator‘ who leaves class early and then l"aults a professor t`or not covering material that was
covered later in the class is not operating in good t`aith.

60. Dr. Wellrnan tried to keep the negative peer observation report t`rom Dr. Sehruers
in violation ot`thc CBA by emailing it solely to Dr. l\/lark D,eka (tlre other tenured Art History faculty
merriber) and l"ailed to offer to go over the peer observation report with Dr. Schruers, also in
violation ofthe CBA.

61. Atter' Dr. Schruers was not selected t`or the position, a tenured professor in the Art
Departrnent told Dr. Schruers that he was not surprised because “everyone knows that Sherry [Dr.
Wellman] bates rnerr.”

62. This professor also told Dr, Schruers about his students who were taking a class with
Dr. Wellrnan and how the male students were consistently given bad grades while the l"emale
students earned top marks, prompting the female students to write the assignments For the male
students who still were given bad grades

63. l\/lany ot`Dr. Schruers’ students complained otsinrilar treatment and that Dr.
Wellman would spend much other lecture time dcnigrating rnen.

64. A particular male student carrie to see Dr. Schruer's numerous times as Dr. Wellman
l"ailed everything he turned in and refused to work with him to give him an idea of what would be

acceptable to her.

 

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65. As a result this student eventually gave up on completing his Art Histor'y major.

66. Dr. l’enelope Orr, a member ofthe Search Committee, told Dr. Schruers that she
was disgustcd how the search was handled and that he was “the best canclidate.”

67. These statements made to Dr. Sclrr'ucrs clearly reflect that Dr. Wcllman harbors a
scxist bias against males.

68. Also, on April l, 20l3, Dr. Schrtlcrs himsclt"ovcrheard Dr. Wellman rave about a
particular younger applicant stating, “Wasn’l our candidate dynamic, l think he is in his late 20’5."

69. Arnong many irregularities, the Search Comrnittee failed to score and thereby
credit Dr. Schrucrs’ “Skype" intervicw.

70, l~luman Resourees requires that all top candidates be scored and ranked as part ot`
the hiring process

7 l. Edinl)oro has admitted that each ol"the top candidates was assigned a "Skype"
interview score based on the candidate’s responses and overall interview, except that t`or unexplained
reasons the Conrrnitlee did not assign a numerical score For Dr. Schruers.

72. ln contrast to Dr. Sehruers, the l"ollowing candidates received “Skypc" scores;
l\/latthew Jarvis (younger candidate in his ZO’s, described by Dr. \-Vellrnan as “dynamic"); Nanette
Thrush (female/younger); l\/larie Gasper-Hulvat (t`crnale/younger); r\/laria D’ Anniballc Williams
(rcemalc/youngcr)1 and; Carissa l\/lassey (t`emale/younger).

73. The failure to score Dr. Schrucrs on this critical selection criteria assured that he
would not be the top-scoring candidate or even recommended as one of the ti nal candidates t`or the
position.

74. An Art History major involved in the interview process commented to Dr. Schruers

 

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that Dr. Wellman had been very favorable and complimentary to all ot`the female candidates but was

very rude and condescending to the male candidate

75. This disparate treatment evidences gender and age discrimination on the part oi`
Edinboro.
76. The Seareh Committee also t"ailed to contact Dr. Schruers’ references while the

search was aetive.

77. Dr. Del<a did not contact Dr. Schruers’ references until alter the Committee
already had submitted its recommendation t`or Nanette Thrush, and did so only in response to Dr.
Schruers’ complaints about this so-ealled “oversig,ht” to the Administration.

78. Dr. Dcl<a’s subsequent attempts to contact Dr. Sehruers’ rct`crcnces clearly were
done to protect liitiiselt`fi'oiii possible subsequent legal penalties or criticism and not as a part ofa
good t`aith selection process

79. On April l8, 20l3, Dr. Del<a informed Dr. Sehruers that he was not the tina|ist for
the position.

SO. On or about April 2 l, 2013, Dr. Schrucrs complained in writing to the Edinboro
Adininistration about the numerous search irregularities (ineluding Dr. Wcllman’s ageist and sexist
statements; the t`ailure to contact his i'ei`crences) and retaliation he had encountered

8 l. chl<s later, Dr. Del<a attempted to contact Dr. Schruers’ ret`erenees; one ol" whom
described Dr. Dcl<a`s call as “vei"y strange,” not a real el"t`ort to contact a referenee: and a “dishonest’7
attempt by Dr. Del<a to protect himsclt`.

82. Clearly, the Search Committee only contacted Dr, Schruers’ references after the

t`act and in an attempt to cover up its earlier l`ailures to do so.

lO

 

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83. By comparison, the Seareh Committee did contact the references ofthe other top
candidates, the majority of whom are female and all of whom were sufficiently younger than Dr.
Schruers.

84. Edinboro claimed that the Search Committee attended a demonstration class by
Dr. Sehruers and that Dr. Del<a attended “but he left early because he was ill.”

85. This allegation is denied as stated because Dr. Del<a, the Search Chair, never

attended the demonstration

86. Dr. Del<a never was in the auditorium and did not attend the lecture.
87. l'le later told Dr. Schruers that he would observe another class, but never did.
88. Also, contrary to Edinboro’s claim, at no time did Dr. Deka ever tell Dr. Schruers

that he could choose what he preferred to teach during the Scarch Committee’s class observationl

89. Dr. Wellman, the then~Search Committee Chair, told Dr. Schruers which class
they were going to observe and whcn.

90. Edinboro admitted that Chair Parlin interviewed the three female candidates but
not Dr. Schruers because “l\/lr. Parlin was very familiar with Dr. Schruers and his experience and
qiialificatioiis.”

9 I. To the contrary, l\/lr. Parlin was not familiar with Dr. Schruers’ experience or
qualifications

92. l\/tr. Parlin never once observed Dr. Sehruers in the classroom over the 4 years he
taught there, which was in violation ofthe CBA’s requirement that the Department Chair conduct
peer observations

93. Dr. Schruers raised this issue with the Administration at an April 26: 20l3

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meeting, and thcn-lnterim Provost Dr. l\/liehacl Hannan confirmed that it was l\/lr. Parlin’s job as
Department Chair to personally observe Dr. Schruers’ teaching

94. A fter this tnceting, Dr, Schrucrs was told by lean tones that after he had left the
room, interim Provost Hannan said, “How is this guy not a linalist‘?”

95. ln addition, l\/lr. Parlin was not even aware that Dr. Schrucrs had graduated from
Edinboro, thus demonstrating that he was not familiar with Dr. Sehruers’ education background

964 As a result of"Dr, Sehruers’ eomplaints, the search was declared a “ ailed search”
and no one was hired.

97. l'lad the search not been infected with a sexist and/or ageist bias, Dr. Schruers

would have been hired into the full-time tenure track Art History position

98. ln June 2013, the position was re-advertised and Dr. Schruers again applied
99. 'l`hc Scareh Committee was reconstituted without Dr. Wellman.

l OO. /\s a result, Dr, Wcllman had an angry exchange with Dr. Schruers during which she
told him that she should be able to choose the person that she is going to work with for the rest of
her career.

lOl. Dr. Schruers was qualified for the position based on his education and experience

102. l\'eveitheless, he was not recommended for the position under circumstances
giving rise to an inference of gender and age discrimination

103. For examplc, the Scarch Committee recommended only younger females f`or the
position

104. in addition, the purported justification for the recommendation denial was a

pretext

 

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105. At'ter the second Search Committee identified the finalists for orr-campus
interviews, one ofthe Search Committec members, Diane Crandall, called Dr. Schruers to in t`onn
him that he was not selected as a tinalist.

106. Aecording to Professor Crandall, the members ofthe Committce were instructed
by Par'lin and/or Deka not to consider anyone (lil<e Dr. Schnrcr's) who had not written their
dissertation on a European topic.

l07. This directive was suggested and implemented by Dr. Dcka, who now was thc
Search Committee Chair and worked closely with Dr. Wellman, and Depaitment Chair Parlin.

IOS. The et"l"eet ot` this directive was to eliminate Dr. Schruers as a candidate because
he had not written his dissertation on a European topic, as Edinboro certainly knew.

109. l~lowever, under the circumstances this was not a legitimate criteria to exclude Dr.
Schruers.

l lO. Dr. Schruer's was told that the woman who was the first choice declined thc position
having accepted a job elsewhere

l l l. l\/ls. Thrush then was ol"t`ered the position but only as a temporary position, not tenure
tr'aek, so she declined

l 12. The third tinalist was determined to not be qualified and the second search was then
i`ailed.

l 13. Edinboro contacted Dr. Schrucrs on the night before the semester began and hired
him to teach two classes for the Fall 20l3 scmester: (l) 17th Century Baroque Art and (2) 19th
Century Art (AH 535 - Art in Revolution, an upper-level undergraduate course on French

l\/lodernism from the Freneh Revolution (1789) to the Paris Comrnune Uprising (l870)).

13

 

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l 15. Dr. Stephen Combs, Dean of the College ot`Arts, l'lumanities and Social Sciences,
and not anyone from the Art Department, called Dri Schruers the night before the semester started
to ask H’he cotd<lteaeh die cotnses

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full load there.

l l7. No one from the Art Department made any contact with Dr. Schruers about these
assignments

l IS. l\/ir. Parlin, Dr. Deka and Dr. Wellman intentionally avoided Dr. Schruers.

l l9. Dr. Schruers was not assigned an office in the Art Department, instead he was
assigned an ofhceirran abanchnicd dornrhory(nrthc in end ofeanrpus.

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“Ovcr'view of Western Art.”

lZl. i30droftheseeorusesfocuson Etuopeanzutandl)r.Schruersprevioush'hadtaught
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l22. 'l`lre Art Department voted in favor of hiring Dr. Schruers to teach these classes7
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l23. in bodiofthosecdasses[)r.SehruersrecehmxlexceHentpeerobservanonsand
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Excellence.’-’

 

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124. Dr. Schrucrs also was qualified to teach European art classes based on his
training and teaching experience

125. \-Vhile receiving advanced degrees at Penn State, Dr. Sehruers studied with some
ofthe leading scholars in European Art including his advisor Dr. George i\/launer, who specialized
in 19th century European r\/lodemism.

126. Dr. Schruers also was an assistant to Dr. Helliiitrt Hager, a wor'ld~renowned
scholar of 17"' and 18“‘ century italian and Gcrman Baroquc architecture

127. As set forth in Dr. Schruers’ CV, the vast majority ofhis courses were in
European art.

128. Furthermor'e, Dr. Schruers began teaching his own courses for Pcnn State in 1992
and they all were focused on the Eur'opean tradition, primarily Renaissance to t\/lodem art surveys

129_ Dr. Schruers’ full~timc positions at Colorado l\/iesa Univcrsity, where he taught
for seven years from 1996 to 2003, and at Slippery Rock Univcrsity, where he taught for two years
full-time from 2003 to 2005, all entailed teaching a schedule ofpredomimrntly European art history
courses

130. Similarly, at Edinboro, Dr. Schruers taught a large number ofcourses in European
art history, including “Overview ofWestern Art,” “Art ofthe 19th Century,” “Baroque Art cf the
17th Ccntury,” "Art ofthe 18th Century," and "Art in Revolution (19th century French t\/todcrnisrn
from the French Revoiution to the Paris Conimune Uprising).”

131. Based on thc fact that Dr. Schruers was hired by Edinboro to teach two European
art history classes for the Fall 2013 Semestcr', that he studied European art history as part of his

advanced degrees7 and that the majority of the classes he has taught since 1992 have been in

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European art history, Dr. Schrucrs certainly was quail tied to teach European art history as part ot`thc
tenure track position.

132. Under the circumstancesj Edinboro’s decision to exclude him from consideration
in the search purportedly because he did not do his dissertation in a Europcan art history subject
simply is not credible or understandable and, therefore, a pretext

133, While Dr. Del<a denies that he instructed the committee not to consider
individuals outside the European art iield, the scoring instrument that was devised to rank the
candidates clearly demonstrates that his statement is not truth l"ul and a member ofthe second Scarch
Committee said to Dr. Sehruers, “We were instructed to not consider anyone who hadn’t written
their dissertation on a European topic."

134. The scoring instrument was devised to credit a large number oi` points to
candidates with European topics For their dissertation, and little to no points to candidates like Dr.
Schruers who wrote on any other topic.

135. 'l`he emphasis ot` the applicant scoring was based on this pretextual requirement ot`
a European dissertation topic.

136. Edinboro maintained that thejob description was changed t"rom “17th to 19`h
century art" to “17th to 19th century Europcan art” to attract more applicants, but a narrowerjob
description would not (and did not) elicit more applicants and is illogical.

137. Furthermore, during the first search, the Search Committee never indicated any
desire t`or a Europcan specialty

138. 1"or example, no questions targeting “Eur'opean” issues were asked ofDr. Sclrr'uers

during his “Sl<ype” interview, and the classes the candidates were asked to teach were general survey

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courses, not presentations ot`any research or upper~levcl topics

139. Edinboro’s later t`ocus on European art to unfairly disqualify Dr. Schr'uers t`rom
getting the position constitutes a pretext

140. On Septembcr 19, 2013, Dr. Schruers received notice t`ronr Edinboro that he was
not selected t`or the position.

141. Sid Bool<cr, Associate Vice President ot`l~luman Resources and l~`aculty Relations,
inl`onncd Dr. Schruers that, "Ai"ter careful review by the Scrcening Comrnittce, another candidate
was selected whose overall qualifications were more in line with the specilic requirements ot`this
position."

142. Bascd on information and belief, this was talse because no other candidate was
selected or hircd, Drr Sehruers was the most qualified candidatc, and the second search had tailed
and did not result in any lrirc.

143. ln the Fall 2014, Edinboro posted a vacancy tor an introductory level Art History
course (ARHl-ZZO lntroduction to Film and Video Art).

144. Dr. Schruers, wer is qualified to teach that course, applied for thc position and in
good t`aith participated in the interview and screening process

145. On l\/tonday, December 15, 2014, Su'/.annc Proulx, the Chair ot`thc Search
Committee, requested more information from Dr. Sehruers and indicated she wanted to tollow up
with him on Wednesday, Decenrber 17, 2014.

146. Dr. Sclrruers immediately provided Pr'ot`essor Proulx with the requested
in t`orm at ion.

147. 'l`hat same day, Dr. Schruers received an entail ti'om a former colleague, Swati

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Bandi, who previously had taught the open course

148. Professor Bandi informed Dr. Schrucrs that Dr. Wellrnan had told her that another
younger instructor named l~lanjin Parl< already had been selected to fill the open position

t49. Dr. Schruers immediately wrote to Profcssor Proulx as well as to the then Dean of
the College, Dean Combs, and informed them of this irregularity in thc search process and that it
constituted retaliation against him for his earlier discrimination complaint.

150. Hanjin Parl< was hired to teach the course outside the normal search procedure

151. Dr. Schrtrers’ application for the position was denied and he was not hired for thc
position.

152. Based on the circumstances and timing ofevents, Edinboro and the individual
Defendants retaliated against Dr. Schruers because of his prior complaint of discrimination by
interfering with and denying his appl ication, and discriminated against him because ofhis sex and/or
age.

153. Contrary to Edinboro’s claim, Dr. Schrucrs was qualified to teach the Art History
Course “1ntroduction to Film and Video Art."

154. According to Edinboro’sjob advertisement, the “Required Qualif`rcations” were a
“l\/IA in Art History, Film Studies or related freld."

155. Dr. Schruers has both a Ph.D. and a r\/lA in “Art History.”

156. Based on the degree requirement alone, Dr. Schruers undoubtedly was qualitied to
teach the course

157. By way ofcomparison, one ofthe two individuals who ultimately was assigned to

the course, Dr. Tonr Weber, does not have a Ph.D. in Art History or Filrn Studies.

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158. lostead, Dr. cher’s Ph.D. is in “Comrnunication Studics/Ethnomusicolegy,"'
Which is not within the Art History/Film Studies discipline

159. Moreover: “lntroduction to Film and Video Art" is a General Edueation Art History
course offered by the Art History program in the Art Dcpar“tment.

160. lt is not a studio art course of`l`cred by Applied l\/ledia Arts (studio area ot`Cinema,
Grapliic Dcsign and Photography) (course catalog description; “This course introduces lilm and
video art as art media. Studcnts will be provided with an historical overview from the beginning of
tilm (c. 1885) and artists’ video (c. 1963) to the present The course will t`ocus on the approaches to
technical and aesthetic elements that have contributed to transforming crat`t into art.”).

161. 'l`his course is not about the production of film and vidco, it is about the history
and criticism ot`tilni and vidco.

162. Since DrA Schruers’ area ofspecialization is lch and 20th century Anrerican and
European art, he was particularly qualified for the course because that is the precise time frame ot`
the lntroduction to Filrn and \/ideo Art class

163. Once Dr. Schrucrs submitted his application, thc selection criteria was changed
again in an attempt to exclude his candidacy

164. At`tcr Dr. Sehrucrs applied, the selection criteria changed such that the Scarch\
Cornmittee now was looking 1"or so-ealled “in-depth expertise in Film and lvtedia Studics.”

165. This altered criteria was contrary to thejob posting seeking candidates with Art
History or Film Studies backgrounds, and designed to discriminate and retaliate against Dr. Schruers
with his experience teaching Art History,

166. Further, this “in-depth” selection criteria is belied by the Fact that the course was

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an introductory level Gencral Education course open to all students and it was not an upper~levcl
course or studio production course designed specifically t`orArt History majors or Studio Art majors
in Fihn or Animation.

167. Dr. Schrucrs does not lack the so-eallcd “in~depth” expertise in this area

168. For cxample, the three senior members ot"the Film and Animation program at
Edinboro (leremy Galante, Steven Carpenter, and r\/lielrael Genz) previously had asl<ed Dr. Schruers
ithe would develop and teach a History ot`Animation course for tlrem.

169. Tlresc three senior Film and /\nimation l`aculty (orre of whom was on the Seareh
Committce) previously had determined that Dr. Schruers in iaet was “qualilied" and had the
necessary “cxpertisc” to create a much more iri-depth course on film than the basic introduction to
Film and Vidco Art.

170. Edinboro’s post-hoe claim that now Dr. Schruers no longer was qualified to teach
the introductory course clearly is false and a pretext

171. Whilc lntroduction to Film and Video Art is a basic intro-level course, Dr.
Schruers has taught higher-level courses at Edinboro that focused on Frlms and tilm history.

172. Dr. Schruers taught “ARl~ll 531 - Art & Society,” that addr'cssed, inter a/r'a, “Frlm"
as a "purveyor['l oi`social change” and two-thirds ot`that course focused on documentary tilms.

173. By way of comparison, the prior instructor ol"lntroduction to Film and Video Art
- Swati Bandi ~ also taught the ARH1531 ~ Art & Soeiety course

174. Dr. Schruers further covered tilm history while at Edinboro when he taught
"ARl'll 556 - Early 20th Century Art.”

175. l\/loreover, during his tenure at Edinboro, Dr. Schrucrs taught 12 different Art

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History courscs, (see E.\'. 2), thereby demonstrating his versatility to teach any Ar't History course
including lntroduction to Film and Video Art.

176. lidinboro’s claim that Dr. Sehruers was not qualified to teach the course is f`alsc.

177. As set forth in tlieiob posting, lidinboro was searching for an instructor to teach
“/n'c) Art l'listory classes" for Spring 2015.

178. l'lowever, after Dr. Schruers submitted his application in mid-Novcmber 2014, Dr.
Wellman apparently facilitated the assignment of`one of the two courses to Hanjin Park.

179. 'l`bis is based on Edinboro’s own admissions in its EEOC position statement S@e
119.(1, (“Dr, Wellman referred l\/lr. Park’s inquiry about the course to department clrairlim Parlin”).

180. Dr. Wellman and her colleague Mar'k Dcka went so far as to solicit the necessary
course materials l`rom the prior irrstruetor, Swati Bandi, purportedly “to make things easier for l\/lr.
Par'k.”

181. 'l`his likely was due to the fact that l\'lr, Park, who has a studio background as
opposed to an art history background like Dr. Sehruers, never had taught a lecture-based art history
course and would need the prior instructor’s materials to teach the course

182. lt is clear that l\/lr. Parl< never even applied for the position and he was not
screened or recommended by the Search Cornmittee.

183. '1"his course assignment was outside the confines of the ongoing lnstructor search
and, therefore, suspicious

184. Based on information and belief, because Mr. Park taught the course as an
overload, he was paid 10 or 12.5% ofhis total salary in accordance with the CBA.

185. lt would have been less expensive for Edinl)oro to have allowed the successful

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candidate, which should have been Dr. Schruers, to have taught both sections oflntroduction to Film
and Vidco Art instead ofjust one.

186. Based on information and beliet`, the assignment of one ofthe two Ait History
courses outside the normal manner of proceeding in a hiring situation (and as listed in the Job
Posting) was a deliberate attempt to not hire Dr. Schruers for discriminatory reasons and/or in
retaliation for his prior discrimination complaints against the University.

187. As a result of Defendants7 discriminatory and retaliatory actions, Dr. Schniers was
denied a full-time tenure track position and another teaching position within Edinboro’s Art
Department.

188. As a result ol`these failures to hire, Dr. Schrucrs has suffered financial and
emotional damages including, but not limited to, losses ofsalary, health benefits, generous pension
and/or retirement benefits, emotional harm, and harm to his reputation

189. Dr. Schrucrs seeks all remedies and damages permitted by law including, but not
limited to, back pay, rcinstatement, hire or r'e-hire, damages for lost prospective future cmploynrent,
front pay, compensatory damages for emotional pain and suffering and reputation damage, injunctive
and declaratory relief, and payment of`his litigation eosts, including reasonable attorneys’ fecs, plus
pre-judgment and post-judgment interest

1911 Plaintil"f requests ajury trial.

COUNT l
Plaintit`f v. Edint)oro University
Title Vll - Discrimirration on the Basis of Gcnder
191. The foregoing paragraphs are incorporated as if set forth herein at length

192. Dr. Schruers is male and in a class protected by Title \/ll.

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pretextual nature ofl§dinbt;)ro’sjustification for the failure to hire, a causal connection exists between
Dr. Schruers’ protected conduct and the adverse employment aetions.

205. As a result ofthe adverse employment actions, Dr. Sehruers has suffered economic
losses and been subject to emotional distress and reputation damage

206. Dr. Sehruers seeks all remedies and damages available under 'l`itle Vll, including
but not limited to, back pay, front pay, compensatory damages for emotional distress, reputation
damage, and defamation ofcharacter, punitive damages, attorney’s fees and costs, and prejudgment
and post~judgment interest

COUNT ill
Plaintiff v. Interim President Hannan and Dr. Wellman
ADEA - Age Discrimination

207. The foregoing paragraphs are incorporated as ifset forth herein at lcngth.

208. The individual Defendants to this claim are being sued in theiroffreial capacities for
prospective injunctive relief.

209. Dr. Schruers is over 40 years of age (currently 52) and in a class protected by the
ADEA.

210. Dr. Sclrruers is qualified for the positions he applied to at Edinboro.

21 l. Dr. Schruers suffered adverse employment actions when Edinboro failed to hire him
for those positions

2 l 2. lndividuals outside of Dr. Sehruers’ protected class were treated more favorably

2 l 3. Edinboro’sjustifications for the adverse employment actions are false and a pretext
for discrimination

2 l 4. As a result of the adverse employment aetions, Dr. Schruers has suffered economic

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losses and been subject to emotional distress and reputation damage

215. Dr. Sehruers seeks all equitable remedies and injunctive relief permitted by law,
ineluding, but not limited to, restoration and/or rehiring into the tenure~traek position within
Edinboro’s Art Department and/or similar full~time position, as well as costs oflitigation including
reasonable attorney’s fees.

COUNT IV
Plairrtift" v. lrrterim Presidcnt Hannan and Dr. Wellmarr
ADEA ~ Retaliation

216. The foregoing paragraphs are incorporated as ifsct forth herein at length

2 l 7. Dr. Sehruers engaged in conduct protected by the ADEA.

218. liorexample, Dr. Schruers dual filed charge ofdiscrimination with the EEOC and the
Pl~lRC asserting sex and age discrimination and retaliation on September 25, 2013 and Apri| 22,
2()l5, and litigated those charges up until he received the right-to-sue letters in April 2018.

2 l 9. Following the protected conduet, Dr. Schruers was retaliated against by Edinboro.

220. As described abovc, Dr. Schruers was denied a position

22l. Bascd on the timing of the protected conduct, the individuals involved, and the
pretextual nature ofEdinboro’sjusti fication for the failure to hire, a causal connection exists between
Dr, Schruers’ protected conduct and the adverse employment actions

222. As a result ofthe adverse employment actions, Dr. Sehrucrs has suffered economic
losses and been subject to emotional distress and reputation damage

223. Dr. Sehruers seeks all equitable remedies and injunctive relief permitted by law,
ineluding, but not limited to, restoration and/or rehiring into the tenure-track position within

Edinboro’s Art Department and/or similar full~time position, as well as costs ol"litigation including

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reasonable attorney`s fees.
COUNT V
Plaintit`f v. All Defendants
PHRA ~ l)iscrimination on the Basis of Gender

224. The foregoing paragraphs are incorporated as ifset forth herein at length.

225. Dr. Sehrucrs is male and in a class protected by the PHRA.

226. Dr. Schruers is qualified for the positions he applied to at Edinboro.

227. Dr. Schruers suffered adverse employment actions when Edinboro failed to hire him
for those positions

228. lndividuals outside ofDr. Schrucr"s’ protected class were treated more favt,)rably.

229. Edinboro’s justifications for the adverse employment actions are false and a pretext
for discrimination

230. As a result of the adverse employment actions, Dr. Schrucrs has suffered economic
losses and been subject to emotional distress and reputation damage

231. ln violation ol"43 Pa. Cons. Stat. § 955(0), the individual Defendants aided, abetted,
incited, compelled or coerced the discriminatory adverse employment actions described above

232. Dr. Sehruers seeks all remedies and damages available under the PHRA, including
but not limited to, back pay, front pay, compensatory damages for emotional distress, reputation
damage, and defamation ofcharactcr, attomey’s fees and eosts, and prejudgment and post-judgment
interestl

COUNT \’l
Plairrtiff v. A|l Dcfcndarrts

PHRA » Age Discrimination

233. 'l`he foregoing paragraphs are incorporated as if set forth herein at length.

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234. Dr. Sehruers is over 40 years ofage (currently 52) and in a class protected by the
ADEA.

235. Dr. Sehruers is qualified for the positions he applied to at lidinboro.

236. Dr. Schrucrs suffered adverse employment actions when Edinboro failed to hire him
for those positions

237. individuals outside of Dr. Sehruet‘s’ protected class were treated more l"avorably.

238. Edinboro’sjustilications for the adverse employment actions are l`alse and a pretext
for discriminationl

239. ln violation of43 Pat Cons. Stat. § 955(e), the individual Defendants aided, abetted,
incited, compelled or coerced the discriminatory adverse employment actions described above.

240. As a result ofthe adverse employment actions, Dr. Schrucrs has suffered economic
losses and been subject to emotional distress and reputation damage

24l. Dr. Sehruers seeks all equitable remedies and injunctive reliefpermitted by la\v,
including, but not limited to, restoration and/or rehiring into the tenure~trael< position within
Edinboro’s Art Depaitment and/or similar full-time position, as well as costs oflitigation including
reasonable attorney’s fees

COUNT Vll
Plaintil`l` v. All Defendants
PHRA ~ Retaliation
242. Thc foregoing paragraphs are incorporated as ifset forth herein at length.
243. Dr. Schruers engaged in conduct protected by the PHRA.

244. ' For example, Dr. Schruers dual filed charge ofdiscrimination with the EEOC and the

Pl'lRC asserting sex and age discrimination and retaliation on September 25, 2013 and April 22,

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20I5, and litigated those charges up until he received the right-to-sue letters in April 20l8.

245. Follo\ving the protected eonduct, Dr. Sehrucrs was retaliated against by Edinboro.

246. As described above, Dr. Schruers was denied a position

247. Based on the timing ofthe protected conduct, the individuals involved, and the
pretextual nature ofEdinboro’sjustification for the failure to hire, a causal connection exists between
Dr. Schruers° protected conduct and the adverse employment actions

248. As a result ofthe adverse employment aetions, Dr. Schruers has suffered economic
losses and been subject to emotional distress and reputation damage

249. ln violation ol"43 Pa. Cons. Stat. § 955(€), the individual Del`endants aidcd, abetted,
ineited, compelled or coerced the retaliatory adverse employment actions described above.

250. Dr. Schruers seeks all remedies and damages available under the PHRA, including
but not limited to, back pay, reinstatement, front pay, compensatory damages for emotional distress,
reputation damage, and defamation of character, punitive damages, attorncy’s fees and costs, and
prejudgment and post-judgment interest

Respectfully Submitted,

LIEBER HAl\/lMER HUBER & PAUL, P.C.`

a ama

J mcs B. Lieb€f

Pa. l.D. No. 21748
Thomas l\/l. Huber

Pa. l.D. No. 83053

lacob l\/l. Simon
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VERIFICATION
l verify that the facts set forth in this complaint are true and correct to the best of my
knowledge information and belief l understand that false statements herein are made subject to

the penalties of 18 Pa. C.S. § 4904, relating to unsworn falsification to authorities

para iam LQ, 2018 509/er OAJVW-'/H'-

Eric Schmers /

 

 

 

 

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